Case 2:04-cr-20498-SHI\/|-ch Document 55 Filed 07/29/05 Page 1 of 2 Page|D 68
F"-F~D BY 591 D.c.

IN THE UNITED sTATEs DISTRICT cM§
FoR THE wESTERN DISTRICT oF TENN "‘| AH|O= 3|

WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,

VS. NO. O4-20498-Ma

RONALD JONES,

Defendant.

 

ORDER RESETTING HEARING ON SUPERVISED RELEASE VIOLATION

 

Before the court is defendant’s July 28, 2005, unopposed
motion to reset the supervised release violating hearing which is
presently set on August 2, 2005. For good cause shown, the
motion is granted. The hearing on supervised release violation
of defendant Ronald Jones is RESET to Thursday, September 1,
2005, at 9:30 a.m.

It is so ORDERED this :;1_£` day of July, 2005.

J//M

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
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Honorable Samuel Mays
US DISTRICT COURT

